                      Case 3:18-md-02843-VC Document 1062 Filed 09/22/22 Page 1 of 7


            1    GIBSON, DUNN & CRUTCHER LLP                        GIBSON, DUNN & CRUTCHER LLP
                 Orin Snyder (pro hac vice)                         Deborah Stein (SBN 224570)
            2      osnyder@gibsondunn.com                             dstein@gibsondunn.com
                 200 Park Avenue                                    333 South Grand Avenue
            3
                 New York, NY 10166-0193                            Los Angeles, CA 90071-3197
            4    Telephone: 212.351.4000                            Telephone: 213.229.7000
                 Facsimile: 212.351.4035                            Facsimile: 213.229.7520
            5
                 Kristin A. Linsley (SBN 154148)                    Joshua S. Lipshutz (SBN 242557)
            6      klinsley@gibsondunn.com                            jlipshutz@gibsondunn.com
                 Rosemarie T. Ring (SBN 220769)                     1050 Connecticut Avenue, N.W.
            7
                   rring@gibsondunn.com                             Washington, DC 20036-5306
            8    Martie Kutscher (SBN 302650)                       Telephone: 202.955.8500
                   mkutscherclark@gibsondunn.com                    Facsimile: 202.467.0539
            9    555 Mission Street, Suite 3000
                 San Francisco, CA 94105-0921
          10     Telephone: 415.393.8200
          11     Facsimile: 415.393.8306

          12
                 Attorneys for Defendant Facebook, Inc.
          13
          14                                  UNITED STATES DISTRICT COURT

          15                                 NORTHERN DISTRICT OF CALIFORNIA

          16
          17     IN RE: FACEBOOK, INC. CONSUMER               CASE NO. 3:18-MD-02843-VC
                 PRIVACY USER PROFILE LITIGATION,
          18                                                 FACEBOOK, INC., GIBSON, DUNN &
                                                             CRUTCHER LLP, AND ORIN SNYDER’S
          19     This document relates to:                   RESPONSE TO TIMELINES SUBMITTED
                                                             BY PLAINTIFFS AT THE SEPTEMBER 15,
          20     ALL ACTIONS                                 2022 HEARING

          21
          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP
                      RESPONSE TO TIMELINES SUBMITTED BY PLAINTIFFS AT THE SEPTEMBER 15, 2022 HEARING
                                                 CASE NO. 3:18-MD-02843-VC
                      Case 3:18-md-02843-VC Document 1062 Filed 09/22/22 Page 2 of 7


            1            Pursuant to the Court’s order (Dkt. 1057), Facebook, Gibson Dunn, and Orin Snyder submit

            2    this response to “timelines” Plaintiffs gave to the Court at the September 15, 2022 hearing.
            3            Plaintiffs’ “timelines” are actually additional argument and omit critical context, particularly
            4    with respect to ADI and named plaintiff data (“NP data”) including discovery hearings before Judge
            5    Corley, related court orders and filings, and discovery mediations. As we have acknowledged, there

            6    were far too many disputes and far too few compromises, but we truly believe this omitted context
            7    shows that the resulting delay in resolving discovery disputes was not due to misconduct. Just a
            8    month before the February 10, 2022 CMC, Judge Corley described the ongoing Special Master
            9    proceedings as being consistent with her ADI and NP data orders. Dkt. 806 at 1 (“The Special
          10     Master’s order is exactly what this Court’s ADI Order contemplated.”); Dkt. 807 at 4 (The Special
          11     Master is “work[ing] with the parties to determine what, if any, [NP data] from these systems should
          12     be produced consistent with [Rule 26]”). While Judge Corley rejected Facebook’s appeals, she also
          13     rejected Plaintiffs’ suggestion of that they were improper: “I’m just going to stop you there. . . . They
          14     do have a right to appeal. And Special Master Garrie responded and narrowed his orders in response
          15     to their motions for reconsideration. So I don’t think you can make an argument that there was
          16     anything bad faith about that at all because he responded to it. . . . And they haven’t appealed every
          17     order . . . [or] every aspect of every order. . . . I couldn’t let that stand uncorrected. I don’t think

          18     that’s fair.” Dkt. 830-3 at 54:6-23
          19             As explained below, the omitted context reveals a pattern: (1) Plaintiffs seek “all” documents
          20     on a topic, (2) Facebook objects, in part, based on privilege, relevance, and/or proportionality, (3)
          21     Judge Corley and/or discovery neutrals try to narrow the issues, (4) the parties meet and confer and
          22     are generally unable to reach agreement, (5) Judge Corley rules on threshold legal issues (privilege
          23     for ADI and discoverability for NP data), and (6) the parties litigate remaining issues before the
          24     Special Master. As we expressed to the Court during the motion hearing, we are very sorry for the
          25     role we played in this pattern and the resulting delay. During the February 10, 2022 CMC, we saw
          26     the Court’s frustration, we learned from it, and we immediately committed to a different approach.
          27              Named Plaintiff Data. Plaintiffs’ NP data timeline omits relevant context. Between July
          28     and October 2020, Judge Corley worked with the parties to narrow Plaintiffs’ request for NP data,
                                                                1
Gibson, Dunn &        RESPONSE TO TIMELINES SUBMITTED BY PLAINTIFFS AT THE SEPTEMBER 15, 2022 HEARING
Crutcher LLP                                     CASE NO. 3:18-MD-02843-VC
                      Case 3:18-md-02843-VC Document 1062 Filed 09/22/22 Page 3 of 7


             1   and, by August 2020, concluded it was “a chicken-and-egg problem” and ordered the parties to

             2   “adjudicate that dispute as to discoverability,” Dkt. 541 at 14:20-17:20, which she further explained
             3   was “just a legal question” and “not proportionality or over-breadth,” Dkt. 509 at 5:18-22. Plaintiffs
             4   said they wanted “only a holding that the sensitive data Facebook collected [about named plaintiffs]
             5   and shared with third parties is relevant” and “[did] not contend that information that was not shared

             6   is relevant.” Dkt. 547-2 at 9. On October 29, 2020, Judge Corley issued Discovery Order No. 9.
             7           Between October 2020 and April 2021, consistent with her description of the issue decided in
             8   Discovery Order No. 9 (discoverability, not proportionality), Judge Corley’s subsequent hearings and
             9   orders make clear that discovery on the three categories of data identified in the order is a distinct
           10    issue from production of “all data” in those categories. In December 2020, Judge Corley ordered a
           11    Rule 30(b)(6) deposition to address the parties’ “disconnect” (Dkt. 589 at 29:23-30:14) on the
           12    meaning of “shared or made accessible” by allowing Plaintiffs to ask questions about data in the three
           13    categories, even if Facebook said it was not shared or made assessible, to “verify the representation
           14    that yes, we collect this information . . . but it is not made accessible to third parties.” Id. at 35:3-5;
           15    id. at 34:22-35:1 (emphasis added) (“[N]o doubt the deponent will talk about information that they
           16    collect but don’t share . . . And then we will talk about whether that is responsive or not.”); Dkt. 588
           17    (“What is needed now is more detail about Facebook’s collection and use of user data so future

           18    discovery requests can be tailored to . . . data that is potentially responsive to Plaintiffs’ discovery
           19    requests.”). In February 2021, Plaintiffs took the deposition, and rather than tailor their requests,
           20    wrote to Facebook in March “renew[ing]” their demand for production of “all data and information
           21    relating to the Named Plaintiffs.” Dkt. 914-8 at 1-2. In April, Facebook responded (again) that it had
           22    produced data it believed could have been shared or made accessible. Dkt. 914-9 at 6.
           23            Between April and October 2021, Plaintiffs did not respond to Facebook’s letter and raised
           24    the issue as an “impasse topic” in discovery mediation in July 2021. In October 2021, the mediators
           25    declared impasse and authorized briefing to the Special Master. Dkt. 916-4 ¶ 10.
           26            Between October 2021 and July 2022, the parties litigated the remaining issues before the
           27    Special Master. Plaintiffs filed a motion to compel Facebook “to identify all data sources that may
           28    contain information relating to the Named Plaintiffs” (as opposed to production of “all” such data).
                                                                   2
Gibson, Dunn &        RESPONSE TO TIMELINE SUBMITTED BY PLAINTIFFS DURING SEPTEMBER 15, 2022 HEARING
Crutcher LLP                                     CASE NO. 3:18-MD-02843-VC
                      Case 3:18-md-02843-VC Document 1062 Filed 09/22/22 Page 4 of 7


             1   Dkt. 780-1 at 0320-21. On November 29, 2021, the Special Master granted the motion, id. at 0109,

             2   and held numerous hearings over the next eight months after which he issued his July 1, 2022 order,
             3   adopting in full Facebook’s proposal for what is essentially a sampling exercise. Dkt. 981-3.
             4   Plaintiffs’ argument that Facebook violated Discovery Order No. 9 contradicts Judge Corley’s
             5   January 12, 2022 order, describing these Special Master proceedings as determining “what, if any”

             6   additional NP data should be produced under Rule 26, and explaining that the Special Master, “with
             7   his technical expertise, is well-positioned to review the evidence and determine whether systems may
             8   contain shared Named Plaintiffs’ data . . . [and] whether the production of potentially shared Named
             9   Plaintiffs’ data is feasible and proportional to the needs of the case.” Dkt. 807 at 4 (emphasis added).
           10    This is fully consistent with Judge Corley’s description, in September 2020, of the issue decided in
           11    Discovery Order No. 9 (discoverability, not proportionality), and her subsequent order allowing a
           12    Rule 30(b)(6) deposition which recognized the distinction between discovery and production of data
           13    in these three categories. Whether data is shared or made accessible does not preclude discovery on
           14    this data, as Plaintiffs sought in their motion to compel before the Special Master, but, as the
           15    references to “shared” and “potentially shared” data in her January 12, 2022 order show, it is relevant
           16    to determining whether production of data in those categories is proportional to the needs of the case.
           17           ADI. Plaintiffs’ ADI timeline omit relevant context. Between June 2020 and January 2021,

           18    Judge Corley worked with the parties to narrow Plaintiffs’ request for “all” ADI documents and to
           19    decide privilege issues in context by ordering a sampling process for ADI communications. E.g. Dkt.
           20    476 at 36:8-37:7; Dkt. 513; Dkt. 602. Between January and April 2021, based on her review of
           21    sample ADI communications, Judge Corley told Plaintiffs, “I don’t think [you] need every single
           22    document,” and asked: “So what it is precisely that the Plaintiffs need from the investigation?” Dkt.
           23    657 at 17:15-23. Plaintiffs responded: “[T]he facts underlying the investigation . . . the facts
           24    underlying these communications are what we’re really seeking.” Id. 18:1-15. On this basis, Judge
           25    Corley ordered the parties to meet and confer on “whether they can agree to production of a narrow
           26    set of documents,” which the parties did in mediation between April and June 2021, reporting to
           27    Judge Corley “significant progress toward a negotiated resolution of Plaintiffs’ request for ADI
           28    materials,” Dkts. 655 ¶ 3, 662 ¶ 3, 671 ¶ 1. In June 2021, those efforts failed, and Judge Corley
                                                                    3
Gibson, Dunn &        RESPONSE TO TIMELINE SUBMITTED BY PLAINTIFFS DURING SEPTEMBER 15, 2022 HEARING
Crutcher LLP                                     CASE NO. 3:18-MD-02843-VC
                      Case 3:18-md-02843-VC Document 1062 Filed 09/22/22 Page 5 of 7


             1   ordered a joint brief on the status of the dispute. Dkt. 693 ¶ 2. On July 26, 2021, Judge Corley

             2   issued an order explaining the background and status of the dispute in which she described
             3   Facebook’s current proposal and Plaintiffs’ rejection of it as excluding background and technical
             4   reports, audits and interviews. Dkt. 711. On September 8, 2021, Judge Corley issued her ADI order,
             5   holding that ADI was not, as a general matter, work product, ordering Facebook to produce (for six

             6   sample apps) background and technical reports, audits, and interviews, and directing the parties to
             7   work with the Special Master on production of additional ADI documents. Dkt. 736 at 7.
             8          Between October and January 2021, the parties worked with the Special Master on
             9   production of additional ADI documents, litigating attorney-client privilege issues not addressed in
           10    Judge Corley’s ADI order and proportionality. After the parties filed briefs in late October 2021,
           11    Plaintiffs reported to Judge Corley that “the [special master] process is working I think as you
           12    intended” (Dkt. 750 at 4:5-6), and, in early December 2021, the Special Master held a hearing and
           13    issued production orders—order for ADI investigation documents became final on December 20,
           14    2021, and order for ADI communications become final on January 31, 2022. Dkt. 766; Dkt. 917-8.
           15    Facebook then produced the documents under compulsion, as required to avoid a privilege waiver in
           16    another jurisdiction which had reached a different conclusion on the privilege issue.
           17           The above context is particularly important to understanding why Facebook would argue that

           18    it believed production of ADI communications was not consistent with Judge Corley’s ADI order.
           19    Judge Corley ordered a sampling of ADI communications, and based on her review, ordered the
           20    parties to meet and confer on whether they could agree on production of “facts underlying the
           21    investigation,” and then ordered Facebook to produce documents Plaintiffs said prevented an
           22    agreement—background and technical reports, audits, and interviews. While we certainly would take
           23    a different approach in retrospect, Judge Corley, who guided this process, described it as “a mistake,”
           24    Dkt. 830 at 11:22, and rejected Plaintiffs’ suggestion that Facebook’s reconsideration motions and
           25    appeal asserting this argument were pursued in bad faith, id. at 54:6-23.
           26           Privilege Log. Plaintiffs’ timeline wrongly implies the process of reviewing and producing
           27    de-designated documents was not completed until late July 2021 based on a “cross-reference
           28    spreadsheet.” As Plaintiffs know, that spreadsheet was provided as a courtesy and the vast majority
                                                                  4
Gibson, Dunn &        RESPONSE TO TIMELINE SUBMITTED BY PLAINTIFFS DURING SEPTEMBER 15, 2022 HEARING
Crutcher LLP                                     CASE NO. 3:18-MD-02843-VC
                      Case 3:18-md-02843-VC Document 1062 Filed 09/22/22 Page 6 of 7


             1   of review and production was completed between May 11 and June 24. Dkt. 1016-4 ¶ 13, 15.

             2          30(b)(6) Depositions. As an initial matter, as addressed in briefing and at the motion hearing,
             3   Plaintiffs have not moved for sanctions based on 30(b)(6) depositions. Plaintiffs’ timeline also omits
             4   and misrepresents relevant context. As we have explained, Facebook responded to the draft 30(b)(6)
             5   notice Plaintiffs emailed on December 23, 2021. At least three times, we asked Plaintiffs to revise

             6   the draft notice to comply with the Special Master’s deposition protocol and the FRCP, which they
             7   did not do. After Plaintiffs served the formal notice on March 1, 2022, they took the position that,
             8   unless we agreed to produce a witness for every topic, as written, they would take the issue to the
             9   Court. It is also untrue that the Special Master “grant[ed] the relief sought” in Plaintiffs’ sanctions
           10    motion filed after the Hendrix deposition. As we have acknowledged, some of the conduct during
           11    that deposition was not appropriate. Facebook immediately contacted Plaintiffs and agreed to all of
           12    the relief they said they wanted. Plaintiffs nevertheless filed the sanctions motion. Dkt. 935. The
           13    following week, the parties stipulated to the relief previously agreed to and Plaintiffs withdrew the
           14    motion. The Special Master simply entered that stipulated order. Dkt. 936.
           15           Financial Documents. Plaintiffs’ timeline wrongly states that Facebook did not produce any
           16    financial documents until February 2021. In early 2020, Facebook produced SEC filings and other
           17    financial documents that were part of its FTC productions. Dkt. 589 at 9:12-23. Also, as Plaintiffs

           18    know, Judge Corley issued her first order on search strings in late 2020, and production of documents
           19    hitting on those search strings started after that and throughout 2021. Plaintiffs’ timeline also
           20    wrongly states that, after February 2022, Facebook produced documents it earlier stated did not exist.
           21    These documents, many of which were created for Plaintiffs, were not responsive to their requests.
           22           Named Plaintiff Depositions. Plaintiffs’ timeline omits that postponed because Plaintiffs
           23    had not amended their initial disclosures to provide a damages theory or responded to significant
           24    discovery requests, and only after the discovery mediators granted Facebook leave to file a motion to
           25    compel, which was later granted. Dkts. 834, 845.
           26           Quips. Plaintiffs’ timeline omit a year of work with Judge Corley to identify the documents
           27    Facebook would collect and review, covering 81 custodians and 140 search strings resulting in a
           28    review set of about 6 million documents, which includes Quips.
                                                                  5
Gibson, Dunn &        RESPONSE TO TIMELINE SUBMITTED BY PLAINTIFFS DURING SEPTEMBER 15, 2022 HEARING
Crutcher LLP                                     CASE NO. 3:18-MD-02843-VC
                     Case 3:18-md-02843-VC Document 1062 Filed 09/22/22 Page 7 of 7


             1   DATED: September 22, 2022                     /s/ Rosemarie T. Ring
             2                                                 Rosemarie T. Ring (SBN 220769)

             3                                                 GIBSON, DUNN & CRUTCHER LLP
                                                               rring@gibsondunn.com
             4                                                 555 Mission Street, Suite 3000
                                                               San Francisco, CA 94105-0921
             5                                                 Telephone: 415.393.8200
                                                               Facsimile: 415.393.8306
             6
                                                               Attorneys for Defendant Facebook Inc.
             7
             8
             9
           10
           11
           12
           13
           14
           15
           16
           17

           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28
                                                           6
Gibson, Dunn &       RESPONSE TO TIMELINE SUBMITTED BY PLAINTIFFS DURING SEPTEMBER 15, 2022 HEARING
Crutcher LLP                                    CASE NO. 3:18-MD-02843-VC
